     Case 2:22-cv-01916-FWS-GJS     Document 136     Filed 06/02/25   Page 1 of 2 Page ID
                                         #:2777



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                         UNITED STATES DISTRICT COURT
 9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                                 CASE NO. 2:22-CV-1916-FWS-GJS
11     ABDIRAHMAN ADEN KARIYE,
12     et al.,
                                                 PROPOSED ORDER GRANTING
13          Plaintiffs,                          DEFENDANTS’ APPLICATION
14                                               FOR LEAVE TO FILE UNDER
       v.                                        SEAL RE OPPOSITION TO
15                                               MOTION TO COMPEL
16     ALEJANDRO MAYORKAS,                       PRODUCTION
       Secretary of the U.S. Department of
17     Homeland Security, in his official
18     capacity, et al.,
19          Defendants.
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22
            Pursuant to Federal Rule of Civil Procedure 26(c) and Civil Local Rule 79-5,
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      Defendants filed an Application for Leave to File Under Seal re their Opposition to
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      the Motion to Compel Production of Documents and filed declarations in support of
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      sealing. The Court, having considered Defendants’ Application, associated
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      declarations, exhibit, any arguments of counsel, IT IS HEREBY ORDERED THAT:
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     Case 2:22-cv-01916-FWS-GJS     Document 136     Filed 06/02/25   Page 2 of 2 Page ID
                                         #:2778



 1          1.    The Court finds that there is good cause sufficient to overcome the
 2    presumption in favor of granting public access to the document below.
 3          2.    Defendants’ Application for Leave to File Under Seal re their
 4    Opposition to Plaintiffs’ Motion to Compel Production of Documents is
 5    GRANTED, and the Clerk of the Court is to directed to accept for filing under seal
 6    the highlighted text in the search parameters document, attached as an exhibit to
 7    Defendants’ Opposition to the Motion to Compel Production of Documents.
 8    IT IS SO ORDERED.
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10    DATED: June 2, 2025                  ___________________________________
11                                         HON. GAIL J. STANDISH
                                           UNITED STATES MAGISTRATE JUDGE
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